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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                 _______________________


SENIQUA JAMISON,

                Plaintiff,
v.                                                              Case No. 1:17-CV-559

CHILD PROTECTIVE SERVICES (CPS),                                HON. GORDON J. QUIST
et al.,

            Defendants.
__________________________________/

                                              OPINION

        Plaintiff, Seniqua Jamison, proceeding pro se, has sued Defendants, Michigan Department

of Health and Human Services (MDHHS) (identified as Child Protective Services (CPS)) and three

MDHHS employees, Julianne Weick, Stesha Miller-Jones, and Shalyn Lowe (collectively MDHHS

Defendants); Lutheran Social Services of Michigan n/k/a Samaritas; and Judith Raskiewicz, alleging

a number of claims arising out of the removal of her three oldest children by CPS and termination

of her parental rights as to those children, as well as events that occurred after the removal.

Jamison’s claims include: (1) unlawful CPS petition for removal; (2) unlawful ex parte order; (3)

unlawful jurisdiction; (4) unlawful seizure; (5) unlawful placement in foster care; (6) abuse in

licensed foster care; (7) unlawful case service plan; (8) violation of reasonable efforts statutes; (9)

violation of child best interest status (sic); (10) unlawful coercion waiver of rights amended petition;

(11) defense attorney ineffective; (12) unlawful termination of parental rights; (13) CPS conceals

false witnesses; and (14) unlawful placement on the central registry.

        The MDHHS Defendants have filed a motion to dismiss Jamison’s claims on various

grounds. In addition, Samaritas has filed a motion to dismiss. Jamison has filed a response, which

is not particularly responsive to Defendants’ arguments.
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       For the following reasons, the Court will grant Defendants’ motions. In addition, although

Defendant Raskiewicz—Jamison’s attorney in the removal proceedings—has not filed a motion to

dismiss, because Jamison is proceeding in forma pauperis, and his complaint fails to state a claim.

28 U.S.C. § 1915(e)(2); see also Benson v. O'Brian, 179 F.3d 1014, 1016 (6th Cir. 1999) (holding

that “§ 1915(e)(2) applies only to in forma pauperis proceedings”).

                                         I. BACKGROUND

       The following facts are based on Jamison’s allegations in her pro se complaint. On July 1,

2014, Jamison’s parental rights with regard to her three oldest children were terminated pursuant

to an order issued by Kent County Family Court Judge Patrick Hillary. (ECF No. 1 at PageID.10,

27.) Jamison alleges that there was insufficient evidence to support the removal order and that the

petition submitted by Defendant Weick in support of the removal order falsely alleged that the

children were in immediate danger. (Id. at PageID.10–11, 24–25.) Jamison waived her parental

rights over the children. (Id. at PageID.38.) Pursuant to Michigan law, Jamison was ordered to

participate in a Parent Agency Case Service Plan, administered by Samaritas. (Id. at PageID.32–33.)

Samaritas recommended that Jamison’s parental rights be terminated because she failed to complete

the program. (Id. at PageID.33–34; ECF No. 19-2 (termination report).)

       On or about June 30, 2016, Jamison gave birth to a fourth child, whom she conceived with

a man named “Mr. Merriweather.” (Id. at PageID.12–13.) Because of the prior order terminating

Jamison’s parental rights, the fourth child was immediately removed from Jamison’s care. (Id. at

PageID.12.) Jamison was referred to a Family Reunification Program (FRP). Jamison participated

in the program, and on February 23, 2017, the newborn was returned to Jamison. (Id. at PageID.12.)

       On April 25, 2017, CPS agents Defendants Miller-Jones and Lowe went to Jamison’s

residence to investigate an anonymous tip that Jamison and Merriweather were “using drugs,

alcohol, driving while under the influence with their Child in the car, that there was no food in the


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house and the Child was being neglected.” (Id. at PageID.13.) Defendants arrived at Jamison’s

residence while MDHHS reunification specialists were present. Defendants demanded access to the

home, and Jamison consented to Lowe’s entry because Lowe threatened to get a removal order for

the newborn if Jamison did not consent. (Id. at PageID.16.) The case was closed on May 18, 2017,

after a hearing in which the court found Jamison and Merriweather fit parents. (Id. at PageID. 19.)

Jamison alleges that, in spite of the court’s finding, Defendant Lowe continued her investigation by,

among other things, interviewing Merriweather’s eleven-year-old son at his school. (Id. at

PageID.19–20.)

       Jamison alleges that she is pregnant again but does not have an open case with an

unidentified safety threat to her unborn child. However, at a checkup, the social worker who works

at the clinic informed Jamison that CPS guidelines required her to report Jamison’s pregnancy to

CPS. The social worker also informed Jamison that there was a possibility that CPS could take

Jamison’s unborn child because of the prior termination of Jamison’s parental rights. (Id. at

PageID.21.)

                                      II. MOTION STANDARD

       A complaint may be dismissed for failure to state a claim if “‘it fails to give the defendant

fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957)). While

a complaint need not contain detailed factual allegations, a plaintiff’s allegations must include more

than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949

(2009) (“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). The court must determine whether the complaint contains “enough

facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the


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reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft, 129 S. Ct.

at 1949. Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Ashcroft, 129 S. Ct.

at 1949 (quoting Twombly, 550 U.S. at 556). “[W]here the well-pleaded facts do not permit the

court to infer more than the mere possibility of misconduct, the complaint has alleged – but it has

not ‘show[n]’ – that the pleader is entitled to relief.” Ashcroft, 129 S. Ct. at 1950 (quoting FED. R.

CIV. P. 8(a)(2)).

                                          III. DISCUSSION

A.      MDHHS Defendants’ Motion

        1.      The Eleventh Amendment bars Jamison’s claims against MDHHS.

        Jamison does not make any allegation or assert any claim directly against MDHHS, nor does

she request any relief against MDHHS. Regardless, the Eleventh Amendment bars Jamison from

asserting any claim against MDHHS in this Court. “It is a fundamental principle of our federalism

that the Eleventh Amendment bars suit against a state or one of its agencies in federal court without

its consent.” Salt Lick Bancorp v. FDIC, 187 F. App’x 428, 442 (6th Cir. 2006). This is true

regardless of the relief sought. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100, 104

S. Ct. 900, 908 (1964). Because a suit against MDHHS, an agency of the State of Michigan, is a suit

against the State of Michigan and Michigan has not waived its Eleventh Amendment immunity, see

Doe v. Wigginton, 21 F.3d 733, 736-37 (6th Cir. 1994), Jamison’s claims against MDHHS must be

dismissed. See Harnden v. Mich. Dep’t of Health & Human Servs., No. 16-cv-13906, 2017 WL

3224969, at *3–4 (E.D. Mich. July 31, 2017) (dismissing the plaintiff’s claims against MDHHS as

barred by the Eleventh Amendment). In addition, to the extent Jamison sues any MDHHS employee

in her official capacity, the suit is likewise barred by the Eleventh Amendment. Pennhurst State

Sch. & Hosp., 465 U.S. at 101–02, 104 S. Ct. at 908; see also Crabbs v. Scott, 786 F.3d 426, 429


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(6th Cir. 2015) (“Damages actions against state officers in their official capacities count as lawsuits

against the State.” (citing Kentucky v. Graham, 473 U.S. 159, 165–66, 105 S. Ct. 3099, 3105

(1985))).

       2.      This Court lacks jurisdiction to review the state court’s order.

       Several of Jamison’s claims challenge or seek review of Judge Hillary’s order. For example

claims 2, 3, 7–9, and 12 allege that the ex-parte removal order was unlawful, that Judge Hillary

lacked jurisdiction to enter the order, and that the order unlawfully required Jamison to participate

in a Case Service Plan, violated the reasonable efforts and best interest statutes, and unlawfully

terminated Jamison’s parental rights.

       The Rooker-Feldman doctrine has its roots in the Supreme Court's decisions in District of

Columbia Court of Appeals v. Feldman, 460 U.S. 462, 103 S. Ct. 1303 (1983), and Rooker v.

Fidelity Trust Co., 263 U.S. 413, 44 S. Ct. 149 (1923), and provides that lower federal courts are

without authority to review final judgments of state courts in judicial proceedings. This is because

“only the Supreme Court of the United States has the jurisdiction to review state court decisions.”

Coleman v. Governor of Mich., 413 F. App’x 866, 870 (6th Cir. 2011) (citing Rooker, 263 U.S. at

416, 44 S. Ct. at 150)); see also Givens v. Homecomings Fin., 278 F. App’x 607, 608–09 (6th Cir.

2008). The Supreme Court has clarified the scope of the doctrine, confining it to “cases brought by

state-court losers complaining of injuries caused by state-court judgments rendered before the

district court proceedings commenced and inviting district court review and rejection of those

judgments.” Exxon Mobile Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284, 125 S. Ct. 1517,

1521-22 (2005). In light of Exxon Mobile, the Sixth Circuit “distinguishe[s] between plaintiffs who

bring an impermissible attack on a state court judgment—situations in which Rooker-Feldman

applies—and plaintiffs who assert independent claims before the district court—situations in which

Rooker-Feldman does not apply.” Kovacic v. Cuyahoga Cnty. Dep’t of Children & Family Servs.,


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606 F.3d 301, 309 (6th Cir. 2010). For purposes of determining the doctrine’s application, the Sixth

Circuit has explained that the proper focus is the source of the plaintiff’s claimed injury:

       The inquiry then is the source of the injury the plaintiff alleges in the federal
       complaint. If the source of the injury is the state court decision, then the Rooker-
       Feldman doctrine would prevent the district court from asserting jurisdiction. If
       there is some other source of injury, such as a third party’s actions, then the plaintiff
       asserts an independent claim.

McCormick v. Braverman, 451 F.3d 382, 393 (6th Cir. 2006).

       In the instant case, the Rooker-Feldman doctrine bars many, if not most, of Jamison’s claims

because she requests review of, and alleges injury resulting from, the state-court order. See Hallman

v. Dep’t of Human Serv., No. 11-6744, 2013 WL 12182022, at *2 (E.D. Pa. July 26, 2013) (noting

that the plaintiff’s claim that the termination of parental rights was not supported by clear and

convincing evidence implicated Rooker-Feldman concerns).              Accordingly, the Court lacks

jurisdiction to review the claims identified above, as well as any other claim alleging injury arising

from the state-court order.

       3.      The doctrine of collateral estoppel bars Jamison from relitigating the facts of
               the abuse/neglect proceeding.

       In several of her claims, Jamison asserts that Judge Hillary’s factual determinations were

incorrect or that he ignored evidence tending to show that there was no basis to remove the children

from Jamison’s care. “The Full Faith and Credit Act mandates that ‘judicial proceedings . .. shall

have the same full faith and credit in any court with the United States . . as they have by law or

usage in the courts of such State . . . from which they are taken.’” Spectrum Health Continuing Care

Grp. v. Anna Marie Bowling Irrevocable Trust, 410 F.3d 304, 310 (6th Cir. 2005) (quoting 28

U.S.C. § 1738). Therefore, Judge Hillary’s order has the same preclusive effect it would have under

Michigan law. Id. (citing Migra v. Warren City Sch. Dist. Bd. of Educ., 465 U.S. 75, 81, 104 S. Ct.

892, 896 (1984)).

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        In Michigan, issue preclusion is also known as collateral estoppel. People v. Gates, 434

Mich. 146, 154 n.7, 452 N.W.2d 627, 630 n.7 (1990). Under Michigan law, collateral estoppel has

three elements: (1) a question of fact essential to the judgment was actually litigated and determined

by a valid and final judgment; (2) the parties must have had a full and fair opportunity to litigate the

issue; and (3) there must be mutuality of estoppel. See Storey v. Meijer, Inc., 431 Mich. 368, 373

n.3, 429 N.W.2d 169, 171 n.3 (1988). An issue is “actually litigated” if the party opposing estoppel

“had a full and fair opportunity to litigate the issue.” Gates, 434 Mich. at 156–57, 452 N.W.2d at

631.   Mutuality of estoppel is not required where a party seeks to use collateral estoppel

“defensively against a party who has already had a full and fair opportunity to litigate the issue.”

Monat v. State Farm Ins. Co., 469 Mich. 679, 695, 677 N.W.2d 843, 852 (2004). All of these

elements are satisfied in this case. First, whether Jamison was neglecting/abusing her children was

the central issue in the state-court proceedings. Second, although Jamison waived her parental

rights, it appears that Jamison had an opportunity to litigate the issue. Finally, regardless of

mutuality, Defendants are entitled to use the state-court’s findings defensively. Accordingly,

Jamison is collaterally-estopped from relitigating the factual underpinnings of the state-court order.

        4.      Defendant Weick is entitled to absolute immunity as to Count 1 and qualified
                immunity as to Jamison’s other claims.

        In Count 1, Jamison alleges that Defendant Weick submitted a petition in support of the court

order that was legally insufficient and contained information that Weick knew was false. Defendant

Weick is entitled to absolute immunity for such a claim. Social workers are absolutely immune

from liability when they act as “legal advocates” in initiating and pursuing child neglect/abuse

proceedings. See Holloway v. Brush, 220 F.3d 767, 774–75 (6th Cir. 2000). “The scope of this

immunity is akin to the scope of absolute prosecutorial immunity, which applies to conduct

‘intimately associated with the judicial phase of the criminal process.’” Pittman v. Cuyahoga Cnty.

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Dep’t of Children & Family Servs., 640 F.3d 716, 724 (6th Cir. 2011) (quoting Imbler v. Pachtman,

424 U.S. 409, 430, 96 S. Ct. 984, 995 (1976)) (internal citation omitted). This immunity applies

even if Weick made intentional misrepresentations to the state court. Id. at 725. Weick was acting

as a “legal advocate” in preparing and submitting the petition, and is therefore absolutely immune

on the claim in Count I.

       To the extent Jamison alleges that Weick is liable for obtaining an unlawful ex parte order

to remove the three children, unlawful placement of the children in foster care, unlawful imposition

of a Case Service Plan, and violating reasonable efforts and best interests statutes, Weick is entitled

to qualified immunity. In Pittman, the Sixth Circuit held that the defendant social worker was

entitled to qualified immunity on the plaintiff’s substantive and procedural due process claims

because, pursuant to Ohio law, the juvenile court had “the ultimate decisionmaking power with

respect to placement and custody, [and] it alone could deprive [the plaintiff of his fundamental right

[to family integrity].” 640 F.3d at 729. The same is true under Michigan law, which leaves many

of the decisions in the hands of the family court. See M.C.L. §§ 712A.18f, 712A.19b.

       In Count 4, Jamison alleges that unidentified “[s]ocial workers and [p]olice officers

unlawfully seized Ms. Jamison’s [c]hildren.” (ECF No. 1 at PageID.28.) However, Jamison admits

that such seizure was pursuant to a court order. Under such circumstances, there is no constitutional

violation. Kranz v. City of Toledo Police Dep’t, 197 F. App’x 446, 453 n.5 (6th Cir. 2006).

Accordingly, Weick is entitled to qualified immunity to the extent this claim is asserted against her.

       In Count 3, Jamison alleges that CPS concealed the identity of a reporting witness whose

report that Jamison was living in a storage unit with her newborn daughter prompted an

investigation that eventually led to the termination of Jamison’s parental rights. Again, Jamison

does not allege this claim against a specific Defendant, but assuming that it is against Defendant

Weick, Weick is entitled to qualified immunity. Pursuant to M.C.L. § 722.625, “the identity of a

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reporting person is confidential subject to disclosure only with the consent of that person or by

judicial process.” The United States Supreme Court has instructed courts that they may consider

the two prongs of the qualified immunity analysis in any order, and need not consider both. Pearson

v. Callahan, 555 U.S. 223, 236–38, 129 S. Ct. 808, 818–19 (2009). Here, Jamison’s claim fails on

the “clearly established” prong. That is, Jamison cites no case that clearly establishes that

maintaining the identity of a reporting person violates a constitutional right, and this Court is

unaware of such authority.

        Finally, in Count 14, Jamison alleges a claim for improperly adding Jamison’s name to

Michigan’s Central Registry. The Court concludes that qualified immunity bars this claim as well.

In Ballard v. Johnson, No. 15-11039, 2017 WL 1151166 (E.D. Mich. Mar. 28, 2017), the court

concluded that the defendants were entitled to qualified immunity as to the plaintiff’s claim that the

defendants violated the plaintiff’s constitutional rights by placing her on the Central Registry

because the defendants “had a reasonable objective basis to conclude that child abuse or neglect

occurred.” Id. at *7 (citing Vermeesch v. Hall, No. 98-74093, 2000 WL 654953, at *7 (E.D. Mich.

Apr. 24, 2000)). The information supporting that basis included a report by the Foster Care Review

Board detailing incidents of corporal punishment by a babysitter and repeated allegations of

mistreatment. Id. The court further noted that the plaintiff failed to cite controlling federal law that

would have put the defendants on notice that they were violating the plaintiff’s rights by placing her

on the Central Registry. Id. at *8. Here, the court order terminating Jamison’s parental rights

provided the MDHHS Defendants an objectively reasonable basis to conclude that Jamison engaged

in child abuse or neglect and that listing her on the Central Registry was appropriate. Accordingly,

the MDHHS Defendants are entitled to qualified immunity on this claim as well.

        5.      Jamison lacks standing to assert claims that belong to her children

        In Count 6, Jamison alleges that her children were abused while in foster care. The proper

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plaintiff in an action under § 1983 is “‘the party injured’” by the alleged violation. Jaco v. Bloechle,

739 F.2d 239, 241 (6th Cir. 1984) (quoting § 1983). Thus, a § 1983 action is “personal to the

injured party.”      Id. (italics in original).      Here, Jamison’s children are the injured parties.

Accordingly, Jamison cannot assert claims that belong to her children. Moreover, as a pro se

litigant, Jamison cannot represent others, including her children. See Ketzner v. Williams, No. 4:06-

CV-73, 2008 WL 4534020, at *15 (W.D. Mich. Sept. 30, 2008) (“Pro se litigants may not represent

others. Each plaintiff is limited to asserting his own individual claims.” (citing 28 U.S.C. § 1654)).1

B.      Samaritas’s Motion

        Samaritas’s primary argument in its motion is that Jamison fails to allege, as required by

Monell v. Department of Social Services, 436 U.S. 658, 98 S. Ct. 2018 (1978), that a policy or

custom of Samaritas violated Jamison’s constitutional rights. Samaritas is correct that the complaint

does not allege a policy, practice, or custom. However, in the Court’s judgment, Jamison’s claims

against Samaritas fail for an additional, more fundamental, reason: Samaritas is not a state actor.

To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a right secured by

the federal Constitution or laws and must show that the deprivation was committed by a person

acting under color of state law. West v. Atkins, 487 U.S. 42, 48, 108 S. Ct. 2250, 2254–55 (1988).

Jamison alleges that Samaritas was a “Private Foster Care Contracting Agency.” (ECF No. 1 at

PageID.32.) In order for a private party to be held liable for a constitutional violation, its actions

must “so approximate state action that they may be fairly attributed to the state.” Lansing v. City

of Memphis, 202 F.3d 821, 828 (6th Cir. 2000) (citing, among others, Am. Mfrs. Mut. Ins. Co. v.

Sullivan, 526 U.S. 40, 50, 119 S. Ct. 977, 985 (1999)). Jamison cites no case, nor offers any

argument, that Samaritas’s evaluation of Jamison’s compliance with the Case Service Plan,


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          The MDHHS Defendants also argue that Jamison may not assert a claim on behalf of Merriweather’s eleven-
year-old child. The Court does not read Jamison’s complaint as alleging such a claim. To the extent Jamison seeks to
assert such a claim, she would be precluded from doing so for the reasons explained above.

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constitutes state action. Judges in the Eastern District of Michigan have concluded that private

entities providing similar services were not state actors under any of the three tests the Sixth Circuit

recognizes: (1) the public function test; (2) the state compulsion test; and (3) the nexus test. See

Brent v. Wayne Cnty. Dep’t of Human Servs., No. 11-10724, 2012 WL 12877988, at *11–13 (E.D.

Mich. Nov. 15, 2012), aff’d in part, rev’d in part, and remanded sub nom. Brent v. Wenk, 555 F.

App’x 519 (6th Cir. 2014); Molnar v. Care House, 574 F. Supp. 2d 772, 782–85 (E.D. Mich. 2008).

The Court finds the reasoning in these cases persuasive and applicable to Samaritas.

        Accordingly, for the foregoing reasons, Jamison’s claims against Samaritas will be

dismissed.

C.      Jamison’s claims against Defendant Raskiewicz lack merit

        In Count 11, Jamison alleges that her court-appointed attorney, Defendant Raskiewicz, was

ineffective, in violation of Jamison’s right to the effective assistance of counsel. Jamison’s claims

against Defendant Raskiewicz fail for two independent reasons. First, defense counsel, whether

court-appointed or retained, do not act under color of law. Welch v. Dobias, No. 2:17-CV-38, 2017

WL 1905869, at *2–3 (W.D. Mich. May 10, 2017) (citing Beasley v. Poole, No. 1:11-cv-63, 2011

WL 2689347, at *7–8 (E.D. Tenn. July 11, 2011)); see also Zurla v. Thomas, No. 92-5993, 1993 WL

393325, at *1 (6th Cir. Oct. 5, 1993) (“It is well-settled that a public defender or a court-appointed

defense counsel, while acting in that capacity, is not a state actor for purpose of § 1983.” (citing Polk

Cnty. v. Dodson, 454 U.S. 312, 321, 102 S. Ct. 445, 451 (1981))). Second, even if Defendant

Raskiewicz were a state actor, Jamison’s ineffective assistance of counsel claim would fail. As one

court has observed, “[t]he federal courts have not found the Sixth Amendment’s guarantee of the

effective assistance of counsel to be applicable to proceedings involving the termination of parental

rights.” O’Neal v. Sherman, No. EDCV 14-2004-DDP (MAN), 2014 WL 5810308, at *3 (C.D. Cal.

Nov. 6, 2014) (citing Lassiter v. Dep’t of Soc. Servs., 452 U.S. 18, 23–32, 101 S. Ct. 2153,

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2157–2162 (1981)); see also Glover v. Johnson, 75 F.3d 264, 269 (6th Cir. 1996) (noting that there

is no constitutional right to legal assistance in parental rights matters).

        Accordingly, Jamison’s claims against Defendant Raskiewicz will be dismissed as well.

                                          IV. CONCLUSION

        For the foregoing reasons, the Court will grant the MDHHS Defendants’ motion to dismiss

and Samaritas’s motion to dismiss. The Court will also dismiss Jamison’s claims against Defendant

Raskiewicz pursuant to 28 U.S.C. § 1915(e)(2) for failure to state a claim.

        A separate order will enter.




Dated: October 10, 2017                                       /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                        UNITED STATES DISTRICT JUDGE




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